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10                                UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12                                           OAKLAND DIVISION
13
     WHATSAPP INC., a Delaware corporation,
                                          )           Civil Action No. 4:19-cv-07123-PJH
14   and FACEBOOK, INC., a Delaware corporation,
                                          )
                                          )
15        Plaintiffs,                     )
                                          )           DECLARATION OF EMMET P. ONG IN
16     v.                                 )           SUPPORT OF NON-PARTY UNITED
                                          )           STATES DEPARTMENT OF JUSTICE’S
17   NSO GROUP TECHNOLOGIES LIMITED and Q )           AMENDED ADMINISTRATIVE MOTION
     CYBER TECHNOLOGIES LIMITED,          )           TO FILE UNDER SEAL
18                                        )
          Defendants.                     )
19                                        )
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28 DECLARATION OF EMMET P. ONG ISO NON-PARTY DOJ’S AMENDED ADMIN. MOTION TO FILE UNDER
     SEAL
     NO. 4:19-CV-07123-PJH
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 1 I, Emmet P. Ong, declare:

 2          1.      I am an Assistant United States Attorney in the United States Attorney’s Office for the

 3 Northern District of California. I submit this declaration in support of Non-Party United States

 4 Department of Justice’s (“DOJ”) Amended Administrative Motion to File Under Seal, which is filed

 5 concurrently herewith. The matters in this declaration are based on my personal knowledge, information

 6 and belief, and my review of the case file in this matter, and I could testify competently if called upon to

 7 do so.

 8          2.      The document sought to be filed under seal, in its entirety, is the Amended Declaration of

 9 a DOJ Attorney (the “Amended DOJ Attorney Declaration”), which is filed concurrently herewith as

10 Exhibit A to the DOJ’s Amended Administrative Motion. The Amended DOJ Attorney Declaration is

11 being filed in connection with Plaintiff WhatsApp Inc.’s (“WhatsApp”) pending Amended

12 Administrative Motion to Seal Documents Related to WhatsApp’s Motion to Disqualify Counsel (Dkt.

13 No. 59), as supplemented (Dkt. No. 63).

14          3.      The Amended DOJ Attorney Declaration discusses materials and information that were

15 placed under seal by another United States District Court in a different district and that remain under

16 seal, as well as proceedings in that sealed matter.

17          4.      There are compelling reasons for the Amended DOJ Attorney Declaration to be filed

18 under seal in its entirety. As discussed more fully in the Amended DOJ Attorney Declaration, the

19 proceedings, materials, and information discussed in the Amended DOJ Attorney Declaration remain

20 under seal by statute and court order. No party has asserted any right of access to these materials or

21 moved to unseal them.

22          5.      As discussed in more detail in the Amended DOJ Attorney Declaration, these compelling

23 reasons are not outweighed by any public interest favoring disclosure. Nor does the public have a First

24 Amendment right to access declarations filed in support of a motion to seal, such as the Amended DOJ

25 Attorney Declaration. United States v. Higuera-Guerrero (In re Copley Press, Inc.), 518 F.3d 1022,

26 1028 (9th Cir. 2008).

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28 DECLARATION OF EMMET P. ONG ISO NON-PARTY DOJ’S AMENDED ADMIN. MOTION TO FILE UNDER
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 1          6.     Because of the nature of the DOJ’s Amended Administrative Motion and the sensitivity

 2 of the sealed matters discussed in the Amended DOJ Attorney Declaration, the DOJ did not seek a

 3 stipulation from the parties to the action.

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 5 I declare under penalty of perjury that the foregoing is true and correct. Executed in Lafayette,

 6 California on May 1, 2020.

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 8                                                       /s/ Emmet P. Ong
                                                         EMMET P. ONG
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28 DECLARATION OF EMMET P. ONG ISO NON-PARTY DOJ’S AMENDED ADMIN. MOTION TO FILE UNDER
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